UN\TED STATF_S DlSTRlCT COURT
SOUTHERN DlSTRlCT OF NEW YORK

    
  

l\/lovant David Andrew Christenson Civil Action No. 1;18-cv-03501
DEMOCRAT\C NAT\ONAL COl\/ll\/llTTE:/// Racketeer \nfluenced and
//// Corrupt Organization Act (RlCO)
Plaintiff, /_//thl\' \
\USD r\i\iN'\" ‘ 1b
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v. DOC \""` § {\,.`\KC ALLY Y ‘\“ ' Judge lohn G. Koeltl
E\s\§& i\‘~\)*

Defendants.

 

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D l`\’\"\`rj f ,

i/C§n?or/l§xtension to file a l\/lotion for Reconsideration

Your court has given me a voice and for that l ”thank you".

As you know lam Pro Se and indigent (according to the 5"‘ Circuit and the Eastern District of Louisianal. l
make mistakes.

l am asking for an extension in the interest ofjustice until after all parties have entered their
appearances, filed their responses and counter complaints and the Ju\y 5“‘ hearing that you have
scheduled. l am asking for an extension of 14 days after the hearing or the rescheduled hearing.

l believe that you are going to see some amazing legal pleadings The voice you gave me is going to have
a huge impact on what the parties file. This is a wait and see but ifl had an impact l would like the
opportunity to respond and have you reconsider my |\/lotion to Join and |\/lotion to \ntervene.

Please do not hold my mistakes against me. l do not have the resources to fight this batt\e. |\/ly
excusable neglect is due to my lack of resources. l feel the pleadings that are to be filed (mine and
theirs) will contain new evidence that will allow you to grant my l\/lotion to Join and |\/ly Nlotion to
\ntervene. l also believe that you are going to see fraud committed in their pleadings lf | am a factor in
any of this please allow me to be heard.

Each justice or judge of the United States shall take the following oath or affirmation before performing
the duties of his office: ”I, ___ __, do solemnly swear (or affirm) that l will administer justice without
respect to persons, and do egual right to the poor and to the rich, and that l will faithfully and
impartially discharge and perform all the duties incumbent upon me as___ under the Constitution and
laws of the United $tates. 50 help me God.”

l failed to include the following statement but l will incorporate it in my l\/lotion for Reconsideration:
Please incorporate the Democratic Committee’s (DNC) Complaint into my l\/lotion to lntervene and my
Motion to loin. Substitute the term ”American Peop\e" for the Democratic National Committee (DNC).
We are a country with basically two parties. The DNC in simple form is representing 50% of the

American People. There is a question if the DNC truly has cause and standing in the complaint that they
filed. The complaint is political and a marketing tool. The DNC does not give a damn about the American
People but the DNC does care about power and money. l represent 100% of Americans.

No harm will come to the parties. l have served all parties and defendants with my pleadings.

l will continue to send you informative pleadings. l will title those pleadings as Writ of l\/landamus and
Prohibition. l want the government to stop lying and to start telling the truth.

The American people deserve a voice. They also deserve knowledge so that they can make educated
decisions

l pray you grant me the extension.

This case is a miracle. You have the opportunity to do some real good for this country.

|\/ly being a part of this case gives you power over the direction it takes and the outcome. ThiS iS a

judge's dream case.

 

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David Andrew Christenson

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